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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

YVONNE COE,

Plaintiff,
VS. Case No. 8:17-cv-01649-T-27TBM
CREDENCE RESOURCE
MANAGEMENT, LLC,

Defendant.

/
ORDER

The Court has been advised that this action has been settled (Dkt. 16). Accordingly, pursuant
to Local Rule 3.08(b), M.D. Fla., this cause is DISMISSED without prejudice and subject to the
right of the parties, within sixty (60) days of the date of this order, to submit a stipulated form of
final order or judgment should they so choose or for any party to move to reopen the action, upon
good cause shown. After that sixty (60) day period, however, dismissal shall be with prejudice. All
pending motions, if any, are DENIED as moot. The Clerk is directed to CLOSE the file.

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DONE AND ORDERED this ] day of August, 2018.

 
  

ES D. WHITTEMORE
nited States District Judge
Copies to:

Counsel of Record
